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10 Attorneys for Defendant ELIZABETH A. HOLMES

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12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
17                                          )
            Plaintiff,                      )   MS. HOLMES’ MOTION TO EXCLUDE
18                                          )   EVIDENCE CONCERNING WEALTH,
       v.
                                            )   SPENDING, AND LIFESTYLE UNDER RULES
19                                          )   401-403
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                )   Date:   January 22, 2021
                                            )   Time: 10:00 AM
21          Defendants.                     )   CTRM: 4, 5th Floor
                                            )
22                                          )
                                            )   Hon. Edward J. Davila
23                                          )
24                                          )
                                            )
25                                          )

26
27 MS. HOLMES’ MOTION TO EXCLUDE EVIDENCE CONCERNING
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 1                         MOTION TO EXCLUDE EVIDENCE CONCERNING
                              WEALTH, SPENDING, AND LIFESTYLE
 2

 3          PLEASE TAKE NOTICE that on January 22, 2021, at 10:00 a.m., or on such other date and time

 4 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 5 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 6 respectfully move in limine to exclude evidence of her purported wealth, spending, and lifestyle. Ms.

 7 Holmes makes this motion pursuant to Federal Rules of Evidence 401, 402, and 403. The Motion is

 8 based on the below Memorandum of Points and Authorities, the exhibits that accompany this motion,

 9 the record in this case, and any other matters that the Court deems appropriate.

10

11 DATED: November 20, 2020

12

13                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
14                                                      LANCE WADE
                                                        AMY MASON SAHARIA
15                                                      KATHERINE TREFZ
                                                        Attorneys for Elizabeth Holmes
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          Defendant Elizabeth Holmes moves, pursuant to Federal Rules of Evidence 401, 402, and 403, to

 3 preclude the government from introducing evidence of her purported wealth, spending, and lifestyle.

 4 This evidence is irrelevant to any issue at trial and serves no purpose other than to prejudice the jury.

 5          The financial benefits that Ms. Holmes received from her position at Theranos were modest in

 6 comparison to those received by many CEOs of multibillion dollar companies. She took a lower salary

 7 even than the salaries of other Theranos executives. And, although she owned a substantial amount of

 8 Theranos equity, she never sold any equity in the company—despite opportunities to do so and contrary

 9 to what one would expect if she intended to benefit from a massive fraud.

10          Nevertheless, the government has noticed its intention to offer evidence that Ms. Holmes

11 obtained “personal benefit[s]” from her position at Theranos. Ex. 1 ¶ 21(Mar. 6, 2020 Rule 404(b)

12 Notice). According to the government, these “benefits” include company-funded “luxury travel and

13 accommodations” and a “substantial salary” that purportedly enabled Ms. Holmes to lead a “luxurious

14 lifestyle,” including “driving a luxury SUV, renting an expensive home, and purchasing expensive

15 merchandise.” Id. ¶ 21. The government has alleged that that Ms. Holmes “had her Theranos-paid

16 assistants run personal errands, perform personal tasks, and purchase luxury goods.” Ex. 3 at 81 (Sept.

17 28, 2020 Supp. Rule 404(b) Notice). The government has further stated that it intends to offer evidence

18 that Ms. Holmes associated with “celebrities, dignitaries, and other wealthy and powerful individuals,”
19 was “featured in numerous publications,” and was “the beneficiar[y] of increased local and national

20 standing” because of her position at Theranos. Ex. 1 ¶ 21. According to the government, all this

21 evidence shows that Ms. Holmes “had a financial incentive to commit the offenses.” Ex. 3 at 81-83.

22          The government has no legitimate purpose for offering this evidence. It has no bearing on

23 whether Ms. Holmes engaged in the alleged schemes to defraud with which she is charged. Instead, the

24 government’s proffered evidence invites the jury to convict Ms. Holmes based on improper emotional

25 appeals. The Court should exclude it under Rules 401, 402, and 403.

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 1 I.       Evidence of Ms. Holmes’ Wealth, Lifestyle, and Spending Is Irrelevant.

 2          The government’s proposed evidence regarding Ms. Holmes’ purported “luxurious lifestyle” has

 3 no bearing on whether she participated in “(1) [] scheme[s] to defraud” investors or paying patients,

 4 through “(2) the use of wire, radio, or television” and with “(3) a specific intent to defraud” those

 5 investors and paying patients. United States v. Jinian, 725 F.3d 954, 960 (9th Cir. 2013). The amount

 6 of money Ms. Holmes earned in her position at Theranos, how she chose to spend that money, and the

 7 identities of people with whom she associated simply have no relevance to Ms. Holmes’ guilt or

 8 innocence.

 9          A “conviction for wire fraud requires the Government to prove the defendant had ‘a specific

10 intent to defraud,’ not an intent to personally gain from the fraud.” United States v. Dowie, 411 F.

11 App’x 21, 25 (9th Cir. 2010) (emphasis added); see also United States v. Miller, 953 F.3d 1095, 1103

12 (9th Cir. 2020) (“[We] hold that wire fraud requires the intent to deceive and cheat — in other words, to

13 deprive the victim of money or property by means of deception.”); United States v. Welch, 327 F.3d

14 1081, 1106 (10th Cir. 2003) (“No appellate court to our knowledge has ever held an intent to achieve

15 personal gain is an element of a traditional mail or wire fraud charge involving the deprivation of

16 property.”). Thus, what Ms. Holmes gained from the alleged “scheme to defraud” and how she made

17 use of any purported “benefits” is not an element of the charged scheme and the presentation of

18 evidence concerning it is superfluous.
19          As noted, the government has indicated that this evidence is probative of Ms. Holmes’ motive to

20 defraud investors and patients in order to finance her purportedly “luxurious lifestyle.” The U.S. District

21 Court for the Eastern District of New York confronted a similar argument in United States v. Hatfield,

22 685 F. Supp. 2d 320, 326 (E.D.N.Y. 2010). Surveying cases involving such evidence, the district court

23 explained that courts have tended to admit such evidence when it tends to prove that a defendant

24 participated in certain conduct. In such cases, the existence of a lavish lifestyle, without any legitimate

25 explanation for the accumulation of wealth, has “a logical tendency to prove criminal misconduct.” Id.

26 (citation omitted); see, e.g., United States v. Jackson-Randolph, 282 F.3d 369, 377-79 (6th Cir. 2002)
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 1 (affirming admission of such evidence to prove that the defendant embezzled funds, but noting that, as a

 2 general matter, “it is illogical and improper to equate financial success and affluence with greed and

 3 corruption”). By contrast, the district court explained, when the relevant question is not how a

 4 defendant “acquired the money he used to fund his extravagant lifestyle,” but whether the underlying

 5 conduct is legal, how the defendant spent money is irrelevant. Hatfield, 685 F. Supp. 2d at 326 (“[I]t is

 6 irrelevant if Mr. Brooks spent his fortune on lavish parties, instead of donating it to starving Malawian

 7 orphans.”).

 8          That is the case here. Whether and how Theranos or Ms. Holmes acquired funds is not in

 9 dispute. The government’s motive argument rests on an assumption that because Ms. Holmes enjoyed

10 what the government calls a “luxurious” lifestyle, she must have been motivated to commit fraud to

11 acquire or maintain that lifestyle. But, as the Ninth Circuit has explained, the problem with that theory

12 is that “almost everyone”—whether rich or poor—“has a motive to get more money,” and “most people,

13 rich or poor, do not steal to get it.” United States v. Mitchell, 172 F.3d 1104, 1109 (9th Cir. 1999)

14 (reversing conviction where government introduced evidence of defendant’s financial situation to prove

15 motive to steal); see also United States v. Ewings, 936 F.2d 903, 906 (7th Cir. 1993) (“The government

16 maintains that the evidence established the defendant’s motive because it showed that Ewings had an

17 ‘appetite’ for money. But who doesn’t?”). In other words, that Ms. Holmes enjoyed a certain lifestyle—

18 one that is commensurate with the lifestyle of many other CEOs—says nothing about whether Ms.
19 Holmes committed fraud to obtain or maintain that lifestyle. Ms. Holmes’ lifestyle is just as probative

20 of the opposite narrative: that Ms. Holmes achieved financial success by dint of her hard work and

21 innovation. If it were otherwise, the wealth and lifestyle of almost any large company CEO would

22 necessarily mean that they likewise possess a motive to commit fraud.

23          Many CEOs live in luxurious housing, buy expensive vehicles and clothing, travel luxuriously,

24 and associate with famous people—as the government claims Ms. Holmes did. And one may

25 reasonably question, as a matter of social or economic policy, whether CEOs and other corporate

26 officials are overcompensated. No doubt, many prospective jurors may question the reason for such
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 1 compensation—which highlights the tremendous prejudice associated with this evidence. But this does

 2 not suggest that the existence of such compensation or lifestyles is a motive to commit fraud. At most,

 3 the government’s proffered evidence of Ms. Holmes’ wealth, spending, and lifestyle tends to show that

 4 Ms. Holmes earned a living commensurate with her professional position as CEO. That fact is of no

 5 consequence to the government’s case.

 6 II.      Wealth, Spending, and Lifestyle Evidence Is Unfairly Prejudicial.

 7          Even if evidence of Ms. Holmes’ wealth, lifestyle, and spending has some minimal probative

 8 value, it should be excluded because the danger of unfair prejudice substantially outweighs any minimal

 9 probative value. Fed. R. Evid. 403. The probative value of this evidence is, at best, minimal. The

10 government has identified no evidence directly tying Ms. Holmes’ purported wealth, spending, or

11 lifestyle to the scheme to defraud. As discussed above, its motive argument necessarily rests on the

12 assumption—which exists in every single case involving a wealthy defendant—that wealth provides a

13 motive to engage in fraud. As the Ninth Circuit has explained, that sort of reasoning is, at best, of “little

14 probative value.” Mitchell, 172 F.3d at 1108-09 (“A rich man’s greed is as much a motive to steal as a

15 poor man’s poverty. Proof of either, without more, is likely to amount to a great deal of unfair prejudice

16 with little probative value.”). That the government could make the same wealth-based motive argument

17 in any wire-fraud case involving a wealthy person with expensive possessions shows just how little

18 probative value such evidence has. And it ignores the actual evidence in this case, which will
19 demonstrate that Ms. Holmes sacrificed potential personal compensation to advance the company.

20          At the same time, this evidence is incredibly prejudicial. Unfair prejudice is the “capacity of

21 some concededly relevant evidence to lure the factfinder into declaring guilt on a ground different from

22 proof specific to the offense charged.” Old Chief v. United States, 519 U.S. 172, 180 (1997).

23 Prejudicial evidence invites the jury to decide the case on an “emotional” basis. Fed. R. Evid. 403

24 advisory committee’s note. “Where the evidence is of very slight (if any) probative value, it’s an abuse

25 of discretion to admit it if there’s even a modest likelihood of unfair prejudice or a small risk of

26 misleading the jury.” United States v. Hitt, 981 F.2d 422, 424 (9th Cir. 1992).
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 1          Offering evidence of Ms. Holmes’ purported wealth, lifestyle, and spending habits is a blatant

 2 appeal to “class prejudice,” which the Supreme Court has called “highly improper,” as it “may so poison

 3 the minds of jurors even in a strong case that an accused may be deprived of a fair trial.” United States

 4 v. Socony Vacuum Oil Co., 310 U.S. 150, 239-40 (1940). The Ninth Circuit has expressly recognized

 5 the “great deal of unfair prejudice” that flows from wealth-based evidence. Mitchell, 172 F.3d at 1108-

 6 09. Touting Ms. Holmes as a billionaire who took private flights and appeared on magazine covers—as

 7 the government’s proposed exhibit list demonstrates it plans to do at trial—is exactly the appeal to class

 8 prejudice against which the Supreme Court cautioned. This appeal serves only to lure the jury into

 9 convicting Ms. Holmes based on an “emotional” or otherwise “improper basis,” which Rule 403 bars.

10 See Fed. R. Evid. R. 403 advisory committee’s note.

11          Courts routinely find in similar cases that evidence of wealth or lifestyle is irrelevant or that its

12 probative value is low and dwarfed by the severe risk of unfair prejudice to the defendant. See, e.g.,

13 United States v. Stahl, 616 F.2d 30, 32 (2d Cir. 1980) (reversing conviction where government

14 repeatedly referred to the defendant’s wealth, including characterizing the defendant as a “multi-

15 millionaire businessman in real estate,” purportedly to show that the defendant had motive to pay a bribe

16 in order to avoid taxes); Hatfield, 685 F. Supp. 2d at 326 (excluding such evidence in case involving

17 alleged improper stock trading); Kinsey v. Cendant Corp., 588 F. Supp. 2d 516, 518-19 (S.D.N.Y. 2008)

18 (excluding income evidence as unfairly prejudicial play “to the fact finder’s potential economic
19 sympathies or prejudices”); Aristocrat Leisure Ltd. v. Deutsche Bank Tr. Co. Ams., Civ. No. 04-10014,

20 2009 WL 3111766, at *6-7 (S.D.N.Y. Sept. 28, 2009) (excluding “actual dollar figure” of compensation

21 for “its potential to bias the jury under Rule 403”).

22          Lastly, the government should be precluded from introducing this evidence at trial because it

23 would confuse the issues and would be a momentous waste of time. Introduction of the government’s

24 evidence regarding Ms. Holmes’ spending would require countless mini-trials concerning whether the

25 company approved Ms. Holmes’ expenses, such as her private air travel or security measures, and

26 whether her spending was reasonable. In a trial scheduled for multiple months, the jury should not be
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 1 subjected to arguments regarding Ms. Holmes’ alleged purchases of luxury travel, “fine wine,” or “food

 2 delivery to her house.” Ex. 3 at 81-82.

 3          In short, the government has no legitimate reason to introduce evidence about Ms. Holmes’

 4 purported wealth, lifestyle, or spending that would justify injecting unfair class-based prejudice into the

 5 case and compromising Ms. Holmes’ ability to receive a fair trial.

 6                                               CONCLUSION

 7          For the foregoing reasons, Ms. Holmes respectfully requests an order precluding the government

 8 from introducing at trial evidence of her purported wealth, lifestyle, or spending habits.

 9
     DATED: November 20, 2020                             Respectfully submitted,
10

11                                                        /s/ Amy Mason Saharia
                                                          KEVIN DOWNEY
12                                                        LANCE WADE
                                                          AMY MASON SAHARIA
13                                                        KATHERINE TREFZ
                                                          Attorneys for Elizabeth Holmes
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on November 20, 2020 a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5
                                                       /s/ Amy Mason Saharia
 6                                                     AMY MASON SAHARIA
                                                       Attorney for Elizabeth Holmes
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